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                                                                      FILED: June 21, 2021


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 20-7882
                                      (5:09-cr-00259-FL-2)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        DONTE MONTRELL JONES, a/k/a Hot Boy

                     Defendant - Appellant

                                     ___________________

                                        MANDATE
                                     ___________________

              The judgment of this court, entered May 27, 2021, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk




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